208 F.2d 798
    Robert CROWLEY, Appellant,v.UNITED STATES of America.
    No. 14970.
    United States Court of Appeals Eighth Circuit.
    November 17, 1953.
    
      1
      Appeal from the United States District Court for the District of Minnesota.
    
    
      2
      E. C. Mogren, St. Paul, Minn., for appellant.
    
    
      3
      George E. MacKinnon, U. S. Atty., St. Paul, Minn., and Clifford Janes, Asst. U. S. Atty., Redwood Falls, Minn., for appellee.
    
    
      4
      Appeal from District Court docketed and dismissed, on motion of appellee.
    
    